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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS |

Wright, Darrell, ‘ Civil Action No.:

Plaintiff,
v.

Howard Lee Schiff; and DOES 1-10, inclusive, COMPLAINT

Defendants.

For this Complaint, the Plaintiff, Wright, Darrell, by undersigned counsel, states as

follows:

JURISDICTION

1. This action arises out of Defendants’ repeated violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff's
personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer
debt.

2. Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C, § 1391(b), in that the
Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

PARTIES
4, The Plaintiff, Wright, Darrell (“Plaintiff”), is an adult individual residing in

Brockton, MA, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
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5. The Defendant, Howard Lee Schiff (“Howard”), is a Connecticut business entity
with an address of 510 Tolland Street, PO Box 280245, East Hartford, CT 06108, operating as a
collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

6. Does 1-10 (the “Collectors”) are individual collectors employed by Howard and
whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be
joined as parties once their identities are disclosed through discovery.

7. Howard at all times acted by and through one or more of the Collectors.

ALLEGATIONS APPLICABLE TO ALL COUNTS

A. The Debt
8. A financial obligation (the “Debt”) was incurred to an original creditor (the
“Creditor”).
9, The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under 15
U.S.C. § 1692a(5).

10. | The Debt was purchased, assigned or transferred to Howard for collection, or
Howard was employed by the Creditor to collect the Debt.

11. The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

B. Howard Engages in Harassment and Abusive Tactics

12. The Debt in question is not owed by the Plaintiff.
13. Despite numerous requests for validation of the Debt, the Defendants have failed
to provide the Plaintiff with information regarding the original creditor; it’s name, the amount

incurred, where it was incurred,
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14. The Defendants filed an action in Massachusetts state court seeking to recover on
the Debt.

15. In that action, the Defendants failed to serve the Plaintiff with a summons and
complaint as required under Massachusetts law.

16. | The Defendants then sought a default judgment on the basis of the Plaintiff's
failure to respond to their complaint.

17. | Once the default was secured, the Defendants moved the court to garnish the
Plaintiff's wages.

18. The Defendants then garnished the Plaintiff's wages, causing overdraft and late
fees on his bank account.

19. In response, the Plaintiff successfully petitioned the court to overturn the
judgment and garnishment order on the grounds the Defendants failed to properly serve him with
a summons and complaint.

20. Following the dismissal by the court, the Defendants refilled their action against
the Plaintiff,

21. To date, the Defendants have not provided the Plaintiff with information
regarding the original creditor or how the Plaintiff incurred the debt the Defendants maintain he
owes,

22. The original default judgment — now dismissed — still appears on the Plaintiff's

credit report and has not been marked as disputed.

Cc. Plaintiff Suffered Actual Damages

23. The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.
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24. Asadirect consequence of the Defendants’ acts, practices and conduct, the
Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,
fear, frustration and embarrassment.

25. The Defendants’ conduct was so outrageous in character, and so extreme in
degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.

COUNT I
VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

26. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

27. The Defendants’ conduct violated 15 U.S.C. § 1692e(2) in that Defendants
misrepresented the character, amount and legal status of the Debt.

28. The Defendants’ conduct violated 15 U.S.C. § 1692e(8) in that Defendants failed
to report that the Debt was disputed to the credit bureaus.

29. The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants
employed false and deceptive means to collect a debt.

30. The Defendants’ conduct violated 15 U.S.C. § 1692f(1) in that Defendants
attempted to collect an amount not authorized by the agreement creating the Debt.

31. ‘The Defendants’ conduct violated 15 U.S.C. § 1692f(5) in that Defendants caused
charges to be made to the Plaintiff.

32. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(2) in that Defendants
tailed to send the Plaintiff a validation notice stating the name of the original creditor to whom

the Debt was owed.
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33. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(3) in that Defendants
failed to send the Plaintiff a validation notice stating the Plaintiff's right to dispute the Debt
within thirty days.

34. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(4) in that Defendants
failed to send the Plaintiff a validation notice informing the Plaintiff of a right to have
verification and judgment mailed to the Plaintiff.

35. The Defendants’ conduct violated 15 U.S.C. § 1692g(a){5) in that Defendants
failed to send the Plaintiff a validation notice containing the name and address of the original
creditor.

36. The Defendants’ conduct violated 15 U.S.C. § 1692g(b) in that Defendants
continued collection efforts even though the Debt had not been validated.

37. ‘The foregoing acts and omissions of the Defendants constitute numerous and
multiple violations of the FDCPA, including every one of the above-cited provisions.

38. The Plaintiff is entitled to damages as a result of Defendants’ violations.

COUNT H
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

39. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully set forth herein at length.

40.‘ The acts, practices and conduct engaged in by the Defendants vis-a-vis the
Plaintiff was so outrageous in character, and so extreme in degree, as to go beyond all possible
bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized
community,

41. The foregoing conduct constitutes the tort of intentional infliction of emotional

distress under the laws of the State of Massachusetts.

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42. All acts of Defendants and the Collectors complained of herein were committed
with malice, intent, wantonness, and recklessness, and as such, Defendants are subject to

imposition of punitive damages.

COUNT Hl
COMMON LAW FRAUD

43, The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

44.‘ The acts, practices and conduct engaged in by the Defendants and complained of
herein constitute fraud under the Common Law of the State of Massachusetts.

45, The Plaintiff has suffered and continues to suffer actual damages as a result of the
foregoing acts and practices, including damages associated with, among other things,
humiliation, anger, anxiety, emotional distress, fear, frustration and embarrassment caused by the
Defendants, All acts of Defendants and the Collectors complained of herein were committed
with malice, intent, wantonness, and recklessness, and as such, Defendants are subject to

punitive damages.

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:
1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;
2. Statutory damages of $1,000.00 for each violation pursuant to 15 U.S.C.
§1692k(a)(2)(A) against Defendants;
3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

1692k(a)(3) against Defendants;
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4, Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.
c. 93A § 3(A);

5. Actual damages from Defendants for the all damages including emotional
distress suffered as a result of the intentional, reckless, and/or negligent
FDCPA violations and intentional, reckless, and/or negligent invasions of
privacy in an amount to be determined at trial for the Plaintiff;

6. Punitive damages; and

7. Such other and further relief as may be just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: March 22, 2010
Respectfully submitted,

By.

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